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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MICHAEL RIVERS, ET AL.
                                                        CIVIL ACTION
                          Plaintiff,
                                                        NO. 17-1314
              V.

FIRST CLASS AUTO LAND & SALE,
INC., ET AL.

                          Defendants.
                                                                                      L·


                                               ORDER

                   This       :;23 /lO   day of _--<-/1--'--'-/l-/f_C_./-'-/_ _, 2018, upon consideration of

Plaintiffs' Motion and Memorandum to Amend Complaint and upon Defendant's Reply and

Brief in Opposition thereto, it is hereby ORDERED that Plaintiffs' Motion is DENIED.




                                                                                           J.
